                  Case 1:23-cv-01615-CKK Document 22 Filed 07/11/23 Page 1 of 3
                  UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Merck & Co., Inc.


                                          Plaintiff
                                                                              Case No.: 1:23-cv-01615-RDM

                                                                    vs.

Xavier Becerra, U.S. Secretary of Health & Human Services, et al.

                                      Defendant(s)

                             AFFIDAVIT OF SERVICE VIA CERTIFIED MAIL

I, Stephanie Maddox, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of
the documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise
interested in this matter.

DOCUMENT(S): Summons in a Civil Action and Complaint

SERVE TO: Centers for Medicare & Medicaid Services

SERVICE ADDRESS : 7500 Security Boulevard, Baltimore, Maryland 21224

METHOD OF SERVICE: Per COVID-19 service of process protocol, service was completed by mailing a copy of the documents
listed herein to Centers for Medicare & Medicaid Services at 7500 Security Boulevard, Baltimore, Maryland 21224 on 06/08/2023
via United States Postal Service, Certified Mail, Return Receipt Requested . Article Number: 7022 2410 0000 9528 9593 . Service
was signed for on 06/ 14/2023, return receipt attached.



I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge,
information, and belief.




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                                                                                     Stephanie Maddox
 Executed On
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              Capitol Process Services, Inc. I 1827 18th Street, NW, Washington, DC 200091 (202) 667-0050
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                      case1:23-cv-01615-CKK
                     Case                     Document 22 Filed 07/11/23 Page 2 of 3
AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District of Columbia


                    MERCK & CO., INC.,                             )
                                                                   )
                                                                   )
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                            Plaint/ff(s)                           )
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                                V.                                         Civil Action No. 1:23-cv-01615
                                                                   )
   XAVIER BECERRA, U.S. Secretary of Health &                      )
            Human Services, et al.,                                )
                                                                   )
                                                                   )
                           Defendant(.~)                           )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) CENTERS FOR MEDICARE & MEDICAID SERVICES
                                   7500 Security Boulevard
                                   Baltimore, MD 21244




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Jacob ("Yaakov") M. Roth
                                           Jones Day
                                           51 Louisiana Avenue, N.W.
                                           Washington, D.C. 20001




        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                                 ANGELA D. CAESAR, CLERK OF COURT

                                                                                          /s/ Ro'Shaila Williams
 Date:                6/6/2023
                                                                                         Signature of Clerk or Deputy Clerk
Case 1:23-cv-01615-CKK Document 22 Filed 07/11/23 Page 3 of 3




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